
10 N.Y.2d 1035 (1962)
In the Matter of the Town Board of the Town of Huntington, Respondent-Appellant,
v.
Joseph P. Plonski et al., Constituting the Zoning Board of Appeals of the Town of Huntington, Respondents, and Greenlawn Shopping Center, Inc., et al., Appellants-Respondents.
Court of Appeals of the State of New York.
Argued November 16, 1961.
Decided January 11, 1962.
Arthur A. Kaye and Charles T. Matthews for Greenlawn Shopping Center, Inc., appellant-respondent.
Charles Hammond and David L. Glickman for Fred W. Bartels, appellant-respondent.
Richard C. Cahn and Irving Cahn for Town Board of the Town of Huntington, respondent-appellant.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE and FOSTER. Dissent: Judge FROESSEL.
Order affirmed, without costs; no opinion.
Judge FROESSEL dissents in the following memorandum: I dissent. Following the argument of the appeal in this court on November 16, 1961  at which time the 1960 amendment to the zoning ordinance was challenged *1038 for lack of proper notice and opportunity to be heard  there were submitted to us excerpts taken from the Town Board minutes of the November 28, 1961 hearing on the re-enactment of the 1960 amendment. Those excerpts show the following: "Resolution No. 30  Re-enactment of Building Zone Ordinances. Kelly (a member of the Town Board) stated that he voted yes for this proposal on the strength of the statement made by the Town Attorney and the Supervisor that this would not retroactively affect existing parking lots and would only apply to new applications." In view of the foregoing, I am of the opinion that there should be a reargument here.
